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                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF RHODE ISLAND

                                          CASE NO. 1:17-CV-00140


CHRISTOPHER FULTZ, on behalf of himself and                        CLASS ACTION COMPLAINT
all others similarly situated,
                                                                   JURY TRIAL DEMANDED
                       Plaintiffs

          vs.

CITIZENS BANK, N.A.,

                       Defendant.


                                       CLASS ACTION COMPLAINT

            Plaintiff, CHRISTOPHER FULTZ, individually and on behalf of himself, and all persons

similarly situated, sues Defendant, CITIZENS BANK, N.A. (“CITIZENS”), and alleges as

follows:

                                               INTRODUCTION

            1.         This is a civil action seeking monetary damages, restitution, and injunctive relief,

against CITIZENS, arising from CITIZENS’ routine practice of wrongfully assessing what

CITIZENS calls a “Sustained Overdraft Fee.”

            2.         As alleged in detail below, this purported “fee,” which initially was $6.99 and was

raised to on March 7, 2016 $30.00, is assessed by CITIZENS against a customer’s account in

addition to an initial $39.00 overdraft fee, when the customer’s account remains negative for a

period of time. In reality, the assessment and collection of the Sustained Overdraft Fee from its

customers constitutes interest for the use, forbearance, or detention of money. The amount of

interest charged far exceeds the permissible limit under the laws of the state of Rhode Island and




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is, therefore, usurious.

                                                   PARTIES

            3.         Plaintiff is a citizen and resident of the State of Ohio. At all times relevant,

Plaintiff maintained a bank account with CITIZENS and was provided banking services by

CITIZENS in this District. Plaintiff opened the bank account which is the subject of this lawsuit

with Charter One Bank, N.A., which later changed its name to Citizens Bank, N.A.

            4.         Defendant, CITIZENS, is a national bank with its headquarters and principal

place of business located in Providence, Rhode Island. CITIZENS is engaged in the business of

providing retail banking services to consumers, including Plaintiff and members of the putative

Class, which includes the issuance of checks and debit cards for use by its customers in

conjunction with their checking accounts. CITIZENS operates branches, and thus conducts

business, in this District.

                                       JURISDICTION AND VENUE

            5.         This Court has original jurisdiction pursuant to 28 U.S.C. § 1331, because this

action arises under the laws of the United States, namely the National Bank Act, 12 U.S.C. § 1,

et seq., and regulations promulgated by the Office of the Comptroller of the Currency.

            6.         Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to Plaintiff’s and the Class’s claims occurred in this

District, including CITIZEN’s operation of retailing banking branches and its provision of

banking services involving the issuance of checks and debit cards to Plaintiff and members of the

putative class.

                                                 OVERVIEW

            7.         The gist of the Sustained Overdraft Fee is as follows: If a customer’s account is




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in overdraft status (i.e. has a negative balance) by some amount, CITIZENS charges an overdraft

fee of $39.00 for each transaction that is paid while the balance remains negative.

            8.         Thereafter, if the account remains negative for a specific period of time because

the customer did not make a deposit to bring it positive, the customer will have to pay an

additional fee – the Sustained Overdraft Fee – to CITIZENS.                    Thereafter, if the account

continues to remain negative, CITIZENS continues to charge additional Sustained Overdraft

Fees.

            9.         Unlike an initial overdraft fee, the Sustained Overdraft Fee is an additional charge

to a customer for which CITIZENS has provided nothing new in the way of services. The charge

is based solely on the alleged indebtedness to CITIZENS remaining unpaid by the customer for a

period of time.

            10.        By way of background, overdraft fees have been a substantial source of revenue

for banks for a number of years. Overdraft fee revenues continue to proliferate. As technology

has rapidly grown and enabled bank customers new ways to access the money in their accounts,

overdraft episodes and the attendant imposition of overdraft fees have skyrocketed. Recent

reports from the U.S. Consumer Financial Protection Bureau (“CFPB”), for example, show that a

broad investigation has been launched regarding bank overdraft practices and procedures due to

its concern that the growing cost of overdraft practices could place bank customers at

unnecessary risk. In 2012 alone, banks took in approximately $32 billion in overdraft-related

fees.

            11.        As a recent CFPB report reflects, “sustained negative balance” fees are becoming

popular with banks and account for nearly 10% of total overdraft-related fees collected by banks

that impose such charges. According to the CFPB report issued in July 2014, negative balances




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are likely cured by the customer within just a few days, rather than weeks. As such, the bank’s

extension of credit to its overdrawn customer is typically very short-term. Moreover, most

negative balances created by an overdraft are not high figures. Nearly two-thirds of transactions

that cause overdrafts were for $50.00 or less. As these statistics highlight, a bank’s exposure for

carrying a customer’s overdraft is ordinarily very small and limited. But rather than charging

legally permissible interest until its customer cures the overdraft balance, CITIZENS instead

charges a Sustained Overdraft Fee that in reality is interest at an illegal rate.

                                      CITIZENS BANK’S PRACTICE

            12.        The specific issue in this case is CITIZENS’s practice of deducting the Sustained

Overdraft Fee from the accounts of its customers, including Plaintiff and others similarly

situated.

            13.        Specifically, CITIZEN’s current Sustained Overdraft Fee policy that went into

effect on March 7, 2016, is as follows: if a customer fails to replenish his, her, or its account to

bring the negative balance positive after 4 consecutive business days, on the 5th business day

CITIZENS charges a Sustained Overdraft Fee of $30.00. Thereafter, if the account is not

brought positive after 7 consecutive business days, CITIZENS charges another Sustained

Overdraft Fee on the 8th business day, and then it charges a third Sustained Overdraft Fee on the

11th business day, if the account is not brought positive after 10 consecutive business days, with

maximum Sustained Overdraft Fees of $90.00.

            14.        Prior to March 7, 2016, CITIZENS’ Sustained Overdraft Fee policy was as

follows: if a customer failed to replenish his, her, or its account to bring the negative balance

positive after 3 or more consecutive business days, on Day 4 CITIZENS began to charge a

Sustained Overdraft Fee of $6.99 per day, for each day the account remained overdrawn, with




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maximum Sustained Overdraft Fees of $69.90.

            15.        The Sustained Overdraft Fees are all charged to the customer by CITIZENS for

having extended credit for the various periods the account remained negative.

            16.        CITIZENS renders no additional service to its customers in exchange for charging

this extra fee other than advancing the original money to a customer’s account in an amount to

cover the overdraft, for which CITIZENS previously charged the initial overdraft fee(s).

CITIZENS uses the fact that it has loaned funds to its customer as a pretext to justify charging

the customer multiple subsequent charges that exceed lawful limits, rendering the Sustained

Overdraft Fee a usurious charge.

            17.        There is nothing in CITIZENS’s written materials disclosing that this additional

“fee” is in reality a charge of interest on extended credit.

            18.        In Plaintiff’s case, as an example, his account statement for the date range June

16, 2016 through July l8, 2016, shows that it went into overdraft status on June 27, 2016, a

$35.00 overdraft fee was assessed on June 28, 2016, and the account remained in that status until

July 7, 2011.

            19.        Because the account remained negative, on July 1, 2016, CITIZENS charged

Plaintiff a Sustained Overdraft Fee of $30.00.

            20.        Between June 27, 2016 and July 1, 2016, Plaintiff’s negative account balance

fluctuated between negative $11.25 and negative $51.25.

            21.        The Sustained Overdraft Fee identified in paragraph 19 above is an example of

usurious charges made on Plaintiff’s CITIZENS’ account.

                                           CLASS ALLEGATIONS

            22.        Plaintiff brings this action on behalf of itself and all others similarly situated




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pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure. This action satisfies the

numerosity, commonality, typicality, adequacy, predominance and superiority requirements of

Rule 23.

            23.        The proposed class is defined as:

            All CITIZENS checking account holders in the United States who within the
            applicable statute of limitations period prior to the date of filing this Complaint,
            through the date of class certification, who were assessed one or more Sustained
            Overdraft Fees (“the Class”).

            24.        Plaintiff reserves the right to modify or amend the definition of the proposed

Class before the Court determines whether certification is appropriate.

            25.        Excluded from the Class are CITIZENS, its parents, subsidiaries, affiliates,

officers and directors, any entity in which CITIZENS has a controlling interest, all customers

who make a timely election to be excluded, governmental entities, and all judges assigned to

hear any aspect of this litigation, as well as their immediate family members.

            26.        The members of the Class are so numerous that joinder is impractical. The Class

consists of thousands of members, the identity of whom is within the knowledge of and can be

ascertained only through CITIZENS’s records.

            27.        The claims of the representative Plaintiff are typical of the claims of the Class in

that the representative Plaintiff, like all Class members, was charged Sustained Overdraft Fees

by CITIZENS. The representative Plaintiff, like all Class members, has been damaged by

CITIZENS’ misconduct in that it has been assessed usurious Sustained Overdraft Fees.

Furthermore, the factual basis of CITIZENS’ misconduct is common to all Class members, and

represents a common thread of unfair conduct resulting in injury to all members of the Class.

            28.        There are numerous questions of law and fact common to the Class, and those

common questions predominate over any questions affecting only individual Class members.



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            29.        Among the questions of law and fact common to the Class are whether

CITIZENS:

                       a.     Charged interest to its customers under the guise of a Sustained Overdraft

Fee in amounts that violate applicable usury laws;

                       b.     Developed and engaged in an unlawful practice that mischaracterized or

concealed the true usurious nature of the Sustained Overdraft Fee;

                       c.     Charged its customer a Sustained Overdraft Fee that bears no relationship

to the actual costs and risks of covering insufficient funds transactions, and is instead based on

the amount of time credit has been extended when the account is in a negative balance condition;

and

                       d.     Plaintiff and other members of the Class have sustained damages as a

result of the assessment and collection of the Sustained Overdraft Fees, and the proper measure

of damages.

            30.        Plaintiff’s claims are typical of the claims of other Class members, in that they

arise out of the same wrongful overdraft policies and practices of CITIZENS’ checking account

agreements. Plaintiff has suffered the harm alleged and has no interests antagonistic to the

interests of any other Class member.

            31.        Plaintiff is committed to the vigorous prosecution of this action and has retained

competent counsel experienced in the prosecution of class actions and, in particular, class actions

on behalf of consumers and against financial institutions. Accordingly, Plaintiff is an adequate

representative and will fairly and adequately protect the interests of the Class.

            32.        A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual Class member’s claim is




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small relative to the complexity of the litigation, and due to the financial resources of

CITIZENS, no Class member could afford to seek legal redress individually for the claims

alleged herein. Therefore, absent a class action, the Class members will continue to suffer losses

and CITIZENS’ conduct will proceed without remedy.

            33.        Even if Class members themselves could afford such individual litigation, the

court system could not. Given the complex legal and factual issues involved, individualized

litigation would significantly increase the delay and expense to all parties and to the Court.

Individualized litigation would also create the potential for inconsistent or contradictory rulings.

By contrast, a class action presents far fewer management difficulties, allows claims to be heard

which might otherwise go unheard because of the relative expense of bringing individual

lawsuits, and provides the benefits of adjudication, economies of scale and comprehensive

supervision by a single court.

            34.        CITIZENS has acted or refused to act on grounds generally applicable to Plaintiff

and other members of the Classes, thereby making appropriate final injunctive relief or

corresponding declaratory relief, as described below, with respect to the Classes as a whole.

                                  FIRST CLAIM FOR RELIEF
                       VIOLATION OF NATIONAL BANK ACT (12 U.S.C. §§ 85, 86)

            35.        Plaintiff re-alleges paragraphs 1 through 34, as if fully set forth herein.

            36.        Interest, by definition, is compensation for the use or forbearance of money or as

damages for its detention, typically measured by time, which is exactly the case with CITIZENS’

Sustained Overdraft Fee. Any such charges imposed on a customer for use or forbearance of

money or as damages for its detention – no matter how labelled by CITIZENS – are in fact

interest and in this case usurious, as alleged below.




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            37.        Claims for usury against a national bank such as CITIZENS are governed

exclusively by certain provisions in the National Bank Act – specifically, 12 U.S.C. §§ 85, 86.

Under § 85, a national bank may charge interest on any loan or debt at the greater of two

options. Option (1) is “the rate allowed by the laws of the State ... where the bank is located.”

Option (2) is “1 per centum in excess of the discount rate on ninety-day commercial paper in

effect at the Federal reserve bank in the Federal reserve district where the bank is located.”

            38.        The law provides that a bank is located only in the state that is designated on its

organization certificate.          CITIZENS is deemed to be located in Rhode Island because it

designates Rhode Island as its location in its organization certificate.

            39.        Under Rhode Island law, the maximum allowable interest rate is 21%. R.I. Gen.

Laws §6-26-2(a). Consequently 21% is the maximum rate that CITIZENS could have charged.

            40.        By assessing and collecting Sustained Fee for Overdrawn Accounts, CITIZENS

has knowingly extended credit to Plaintiff and others similarly situated for use in their checking

and/or money market accounts. Such extensions of credit are loans made without a specific loan

agreement. In fact, 12 U.S.C. § 84 defines the term “loans and extensions of credit” as including

any and all direct or indirect advances of funds to a person made on the basis of any obligation of

that person to repay the funds. In addition, federal banking regulators in guidance issued to

national banks on the subject of overdraft items have expressly stated: “When overdrafts are

paid, credit is extended.” See Joint Guidance on Overdraft Protection Programs, 70 Fed. Reg.

9127, 9129 (Feb. 24, 2005).

            41.        Although CITIZENS is only permitted to charge Plaintiff and others similarly

situated a maximum of 21.0% annualized interest on these loans and extensions of credit,




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 CITIZENS has knowingly charged and collected Sustained Fee for Overdrawn Accounts from

 Plaintiff and others similarly situated that far exceeded this permissible rate.

             42.        Using the maximum amount of Plaintiff’s negative balance during the relevant

 period ($51.25), and applying a 21.0% annualized interest rate over the 14-day period, the

 maximum amount that CITIZENS was legally permitted to charge Plaintiff was $0.41. In this

 case, CITIZENS charged $30.00, which was over 73 times the maximum legal rate.

             43.        The Sustained Overdraft Fees charged to Plaintiff and others similarly situated for

 such advances of money are egregiously high, usurious, and illegal.

             44.        By labeling its charge a Sustained Overdraft Fee, CITIZENS cannot mask the true

 nature of the charge, especially since it overtly identifies in its disclosures that the fee is tied to

 the time that the account is in a negative balance condition.

             45.        Plaintiff and those similarly situated have sustained damages based on

 CITIZENS’ violation of the NBA through its assessment and collection of the Sustained

 Overdraft Fee.

             46.        The usurious transactions at issue all occurred within 2 years prior to the

 commencement date of this action.

             47.        Plaintiff and those similarly situated are entitled to recover twice the amount of

 the usurious interest they paid under 12 U.S.C. § 86, which provides: In case the greater rate of

 interest has been paid, the person by whom it has been paid, or his legal representatives, may

 recover back, in an action in the nature of an action of debt, twice the amount of interest thus

 paid from the association taking or receiving the same . . . (Emphasis added).

             48.        Plaintiff and those similarly situated hereby demand recovery of the amounts

 owed to them as a result of the violations asserted herein.




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             WHEREFORE, Plaintiff demands judgment against defendant CITIZENS for himself

 and the Class as follows:

                        (a)   Certifying this matter as a class action pursuant to Fed. R. Civ. P. 23;

                        (b)   Designating Plaintiff as an appropriate Class representative;

                        (c)   Awarding Plaintiff and the Class damages (including twice the amount of

             the usurious interest paid), prejudgment interest from the date of loss, and their costs and

             disbursements incurred in connection with this action, including reasonable attorneys’

             fees, expert witness fees and other costs; and

                        (d)   Such other relief as the Court deems just and proper.

                                        DEMAND FOR JURY TRIAL

             Plaintiff and all others similarly situated hereby demand trial by jury on all issues so

 triable as a matter of right.


             Dated: March __, 2017

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                                    Pro Hac Vice Motion to be Filed

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